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 7
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 9
                        UNITED STATES DISTRICT COURT
10                     NORTHERN DISTRICT OF CALIFORNIA
11 JEFFREY KATZ CHIROPRACTIC,                 Case No: 3:20-cv-04108-CRB
12 INC., a California corporation,
   individually and on behalf of all others   Honorable Charles R. Breyer
13 similarly situated,
14                                            DEFENDANT’S UNOPPOSED
                 Plaintiff,                   MOTION FOR LEAVE TO EXCEED
15                                            PAGE LIMIT FOR ITS OPPOSITION
16     vs.                                    TO MOTION FOR CLASS
                                              CERTIFICATION
17 DIAMOND RESPIRATORY CARE,
   INC., a California Corporation,
18
19               Defendant.
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                   DEF.’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT
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                   DEF.’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT
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 1         Defendant Diamond Respiratory Care, Inc. (“Defendant”), by and through its
 2 undersigned counsel, hereby moves the Court for leave to exceed the 15-page limit for
 3 its Opposition to Plaintiff’s Motion for Class Certification.
 4         Good cause exists to grant Defendant’s motion to exceed the page limit. The
 5 Opposition involves complex legal and evidentiary issues related to class certification,
 6 including Plaintiff’s request to certify a class under both Rule 23(b)(2) and 23(b)(3).
 7 Defendant therefore seeks a higher page limit in order to fully address all of the issues
 8 for the Court. Additionally, Plaintiff’s Motion for Class Certification exceeded the
 9 page limit by 5 pages.
10         Accordingly, Defendant requests that the Court grant its motion to extend the
11 page limit to 25 pages. However, Defendant will attempt, to the extent possible, to
12 confine its Opposition to fewer than 25 pages.
13
14 DATED: October 8, 2021                  KABAT CHAPMAN & OZMER LLP

15
16                                         By: /s/ Paul A. Grammatico
                                               Paul A. Grammatico
17                                             Attorney for Defendant
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                    DEF.’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT
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 1                                PROOF OF SERVICE
 2                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
 3
          I am employed in Los Angeles, California; I am over the age of 18 and not a
 4 party to the within action; my business address is 333 S. Grand Avenue, Suite 2225,
 5 Los Angeles, CA 90071.
 6       On October 8, 2021, I served the foregoing document(s) described as
   DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE
 7
   LIMIT FOR ITS OPPOSITION TO MOTION FOR CLASS CERTIFICATION
 8 on the interested parties to this action by delivering a copy thereof in a sealed
   envelope addressed to each of said interested parties at the following address(es):
 9
   SEE ATTACHED LIST
10
        (BY MAIL) I am readily familiar with the business practice for collection and
11       processing of correspondence for mailing with the United States Postal Service.
12       This correspondence shall be deposited with the United States Postal Service
         this same day in the ordinary course of business at our Firm's office address in
13       Los Angeles, CA. Service made pursuant to this paragraph, upon motion of a
14       party served, shall be presumed invalid if the postal cancellation date of postage
         meter date on the envelope is more than one day after the date of deposit for
15       mailing contained in this affidavit.
16
        (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
17       electronically filed using the Court’s Electronic Filing System which
         constitutes service of the filed document(s) on the individual(s) listed on the
18
         attached mailing list.
19
        (Federal) I declare that I am employed in the office of a member of the bar of
20       this court at whose direction the service was made. I declare under penalty of
21       perjury that the above is true and correct.
22         Executed on October 8, 2021, at Los Angeles, California.
23                                                 /s/ Paul A. Grammatico
24                                                 Paul A. Grammatico
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                                       PROOF OF SERVICE
       Case 3:20-cv-04108-CRB Document 35 Filed 10/08/21 Page 5 of 5




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